                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA


BETTY L. GREEN,                                  )
                                                 )
              Plaintiff,                         )
                                                 )
v.                                               )   Case No. CIV-09-1013-M
                                                 )
MICHAEL J. ASTRUE,                               )
Commissioner of Social                           )
Security Administration,                         )
                                                 )
              Defendant.                         )

                           REPORT AND RECOMMENDATION

       In response to an order on January 19, 2010, Ms. Green requested a default judgment.

Doc. 19 at p. 4.1 The Defendant is not in default, as the Plaintiff did not complete service

until February 8, 2010. The Commissioner’s response to the complaint, filed only eight days

later,2 was timely. See Fed. R. Civ. P. 12(a)(1)-(2). As a result, the Court should reject Ms.

Green’s request for a default judgment.

       Any party may file written objections with the Clerk of the United States District

Court by March 15, 2010. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 6(d), 72(b)(2). The

failure to file timely objections would result in waiver of the right to appeal the suggested

ruling. See Moore v. United States, 950 F.2d 656, 659 (10th Cir. 1991); see also Marshall




1
       The Plaintiff filed a brief in support 29 days later. Doc. 27.
2
       Doc. 22.
v. Chater, 75 F.3d 1421, 1426 (10th Cir. 1996) (“Issues raised for the first time in objections

to the magistrate judge’s recommendation are deemed waived.”).

       The referral is not terminated.

       Entered this 26th day of February, 2010.




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